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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                          -X

  DUSHANNE ASHLEY

                               Plaintiff,
                                                                         MEMORANDUM & ORDER
               -against-
                                                                          14-CV-5559(NGG)(SMG)
  DETECTIVE MIKE CIVIL, shield #2114,


                               Defendant.
                                                          -X
NICHOLAS G. GARAUFIS,United States District Judge.

        Plaintiff Dushanne Ashley brings a § 1983 denial ofa fair trial claim against Defendant

Detective Mike Civil. (See July 7, 2017 Mem.& Order Adopting Report and Recommendation

("M&O Adopting R&R")(Dkt. 62)at 37-38.) Trial is scheduled to begin in this case on April 1,

2019. Pending before the court are the parties' motions in limine. (See Def. Mot.(Dkt. 97); Def.

Mem.in Support of Def. Mot.("Def. Mem.")(Dkt. 99); PI. Mot.(Dkt. 102).) For the reasons set

forth below, the parties' motions in limine are GRANTED IN PART and DENIED IN PART. In

addition, the court RESERVES JUDGMENT until trial with respect to several issues raised by

the parties.

I.     BACKGROUND


        The court assumes the parties' familiarity with the factual background and procedural

history in this matter and thus will only summarize information relevant to the instant motions.

        On November 28,2012, Plaintiff was arrested inside of 125 East 18th Street, Apartment

51, Brooklyn, New York (the "Apartment")for criminal possession of marijuana. (M&O

Adopting R&R at 2.) Civil was present for the arrest. (Id.) The criminal complaint for this

arrest states that Plaintiff lives at the Apartment and "stays" in the living room. (Id.) On the day

ofthe arrest, an air mattress was present in the living room ofthe Apartment. (Id.") On
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December 13,2012,Plaintiff was again arrested in the Apartment for criminal possession of

marijuana. (Id.) Although Civil was not the arresting officer, he was present for the arrest. (Id)

The criminal complaint for this incident states that on December 28,2012,Plaintiff resided at the

Apartment. (Id)

       On April 19,2013, Defendant Civil executed a search warrant at the Apartment. (Id at

3.) The search warrant listed the address of the Apartment and the name of one individual,

Charles Patrick. (Id) Plaintiff was not named on the search warrant and contends that he did not

reside at the Apartment on April 19, 2013. (Id) Upon entering the Apartment on April 19,

2013, Civil observed two individuals, Charles Patrick and Jose Carlos. (Id.) During his search.

Civil found 18 small plastic bags of marijuana in the living room ofthe Apartment. (Id)

Several of Plaintiff s possessions, including compact discs, a cat, and a dog, were in the

Apartment. (Id) Plaintiff was not present at the Apartment when the search was conducted but

he arrived shortly thereafter, while officers were still in the Apartment, and was placed under

arrest. (Id)

       Plaintiff was charged in state court with Criminal Possession of Marijuana in the Fourth

Degree, Criminal Possession of Marijuana in the Fifth Degree, and Unlawful Possession of

Marijuana. (Id) The criminal complaint(the "Original Complaint"), which was signed by Civil,

inaccurately stated that, at the time the marijuana was discovered. Civil observed Plaintiff and

his co-defendant Carlos sitting in the room where the marijuana was recovered. (Id) The

prosecution filed a superseding information (the "Superseding Information") to correct this error.

(Id. at 4.) The Superseding Information included the same charges as the Original Complaint but

stated that Plaintiff entered the Apartment only after the search was conducted and added that

upon his arrival. Plaintiff made the following statement: "this is what happens when you let
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strange people into our apartment." (Id.") Plaintiff denies having said this. (Id.) Plaintiff was

required to make a number of court appearances in relation to the Original and Superseding

Information. (Id.) On July 18, 2014,the charges stemming from Plaintiffs April 19,2013 arrest

were dismissed by the state court.(Id) Defendant asserts that the charges were dismissed due to

"facial insufficiency" ofthe Superseding Information, but Plaintiff contends that they were

"dismissed on the merits" and that the state court just"happened to refer to the Superseding

Criminal Court Complaint as facially insufficient." (Id)

       Plaintiff subsequently brought this action pursuant to 42 U.S.C. § 1983 against

Defendants the City ofNew York (the "City"), Sergeant Luke Denesopolis, Detectives Mike

Civil and Jason Jones, and Police Officers Jane/John Doe(s)#1-10. (Am. Compl.(Dkt. 14).) He

asserted the following causes ofaction against Defendants:(1)false arrest;(2) malicious

prosecution;(3)failure to intervene;(4)illegal strip search;(5)excessive pre-arraignment

detention; and (6)denial ofa fair trial.(Id at 4-11.)

       Defendants moved for summary judgment on all claims. (Defs. Mot. for Summ. J.(Dkt.

39).) Plaintiff opposed Defendants' motion and cross-moved for partial summary judgment on

his false arrest and denial of a fair trial claims. (PI. Cross-Mot, for Summ. J.(Dkt. 43).) The

court referred Defendants' motion for summaryjudgment and Plaintiffs cross-motion for partial

summary judgment(together, the "Cross-Motions")to Magistrate Judge Steven L. Gold for a

Report and Recommendation("R&R")pursuant to 28 U.S.C. § 636(b)(1)(B) and Federal Rule of

Civil Procedure 72(b)(1). (Nov. 28,2016, Order Referring Mot.) On April 17, 2017,Judge

Gold issued an R&R,recommending that Defendants' Motion be granted in part and denied in

part and that Plaintiffs Motion be denied. (R&R(Dkt. 59) at 2.) Plaintiff and Defendants each

filed timely objections to the R&R. (Defs. Objs. to R&R("Defs. Objs.")(Dkt. 64); PI. Objs. to
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R&R("PL Objs.")(Dkt. 65).) The court ultimately dismissed these objections and adopted the

R&R in full. (M&O Adopting R&R at 2.) On May 8, 2018, Plaintiff moved for reconsideration

ofthe court's conclusion in the M&O that there remained a genuine issue offact as to whether

Plaintiffs deprivation of liberty came "as a result" of Defendant Civil's actions. (PI. Mot. for

Reconsideration(Dkt. 81).) On May 8, 2018, the court denied Plaintiffs motion for

reconsideration. (M&O Denying Mot. for Reconsideration (Dkt. 87).)

       The court approved the parties'joint pretrial order("JPTO")on February 22,2019.

(Order approving JPTO (Dkt. 91).) On March 29, 2019, Defendant filed an amended JPTO (the

"Amended JPTO"). (See Amended JPTO (Dkt. 106).)

II.    LEGAL STANDARD


       A.      Motions in Limine


       "The purpose of a motion in limine is to allow the trial court to rule in advance oftrial on

the admissibility and relevance of certain forecasted evidence." Gorbea v. Verizon N.Y.. Inc..

No. 1 l-CV-3758(KAM),2014 WL 2916964, at *1 (E.D.N.Y. June 25,2014)(citing Luce v.

United States. 469 U.S. 38,40 n.2(1984); Palmieri v. Defaria. 88 F.3d 136, 141 (2d Cir. 1996);

Nat'l Union Fire Ins. Co. ofPittsburgh. Pa. v. L.E. Mvers Co. Grp.. 937 F. Supp. 276,283

(S.D.N.Y. 1996)). "Evidence should be excluded on a motion in limine only when the evidence

is clearly inadmissible on all potential grounds." United States v. Paredes. 176 F. Supp. 2d 179,

181 (S.D.N.Y. 2001). Further,"courts considering a motion in limine may reserve decision until

trial, so that the motion is placed in the appropriate factual context." Jean-Laurent v. Hennessv.

840 F. Supp. 2d 529, 536(E.D.N.Y. 2011)(citing Nat'l Union Fire Ins. Co.. 937 F. Supp. at

287). The court's ruling on a motion in limine is preliminary and "subject to change when the

case unfolds ..." Luce.469 U.S. at 41.
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        B.      General Rules of Admissibility

        Evidence must be relevant to be admissible at trial. Fed. R. Evid. 402. Evidence is

relevant if it "has any tendency to make a fact [that is ofconsequence to the determination ofthe

action] more or less probable than it would be without the evidence." Fed. R. Evid. 401. This

relevance standard is "very low." United States v. White.692 F.3d 235,246(2d Cir. 2012)

(quoting United States v. Al-Moavad. 545 F.3d 139, 176(2d Cir. 2008)). All relevant evidence

is admissible unless the United States Constitution, a federal statute, the Federal Rules of

Evidence, or rules prescribed by the Supreme Court provide otherwise. Fed. R. Evid. 402; see

also White. 692 F.3d at 246.


       "The court may exclude relevant evidence if its probative value is substantially

outweighed by a danger of one or more ofthe following: unfair prejudice, confusing the issues,

misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence."

Fed. R. Evid. 403. "[WJhat counts as the Rule 403 'probative value' of an item ofevidence, as

distinct from its Rule 401 'relevance,' may be calculated by comparing evidentiary alternatives."

Old Chief v. United States. 519 U.S. 172,184(1997). In short. Rule 403 requires the court to

"make a 'conscientious assessment' of whether unfair prejudice substantially outweighs

probative value" with regard to each piece of proffered evidence. Al-Moavad. 545 F.3d at 160

(quoting United States v. Salameh. 152 F.3d 88, 110(2d Cir. 1998)(per curiam)).

III.    DISCUSSION


        The court addresses each ofthe parties' requests in turn.

        A.     PlaintifTs Prior Arrests and Convictions


       Plaintiff moves to preclude Defendant from mentioning his prior arrests or convictions.

(PI. Mot. at 3-5.) There are two categories of prior arrests and/or convictions at issue here. The
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first category are arrests and convictions of Plaintiff prior to November 2012(the "Prior

Arrests"). The second category are Plaintiffs arrests in November 2012(the "November

Arrest") and December 2012(the "December Arrests").

       Plaintiff argues that his criminal history has no probative value and would prejudice

Plaintiff. (Id at 3.) Moreover, he contends that prior arrests that did not result in convictions

have no probative value and are not admissible under Federal Rule ofEvidence 609. (Id)

Plaintiff also contends that the November and December Arrests should be excluded because

they involved marijuana possession, and their similarity to the crime for which Plaintiff was

arrested in April 2013 renders evidence ofthem "highly prejudicial." (Id)

       For the following reasons. Plaintiffs first motion in limine is GRANTED in part and

DENIED in part.

               1.      Prior Arrests

       Defendant states that he has no intention of eliciting testimony or introducing evidence

pertaining to the Prior Arrests, unless Plaintiff"opens the door" by testifying that he suffered

emotional damages over and above the time he spent attending court. (Def. Resp.(Dkt. 103)at

1.) Defendant argues that ifPlaintiff so testifies, then Defendant should be able to "explore the

fact that plaintiff has been prosecuted more than two-dozen times and has been incarcerated

more than once"(id),"[bjecause a plaintiff who has had a number of prior arrests and detentions

is likely to have suffered less distress than one who has never before been detained," Banushi v.

Palmer. No. 08-CV-2937(KAM)(JO), 2011 WL 13894, at *3(E.D.N.Y. Jan. 4,2011)(citation

and quotation marks omitted), affd. 500 F. App'x 84(2d Cir. 2012).

       The court finds that plaintiffs prior arrest and incarceration history may be relevant to

the jury's determination of damages under Federal Rule ofEvidence 402.           Banushi. 2011
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WL 13894, at *3. In addition,"[t]he probative value ofthis evidence is not substantially

outweighed by 'the danger of unfair prejudice, confusion of the issues, or misleading the jury.'"

Id.(quoting Fed. R. Evid. 403); see also Picciano v. McLouehlin. No. 5:07-CV-0781,2010 WL

4366999(N.D.N.Y. Oct. 28,2010)("[Plaintiffs] subsequent arrests are probative ofPlaintiffs

claim for emotional damages, and the probative value ofthe testimony is not substantially

outweighed by the danger of unfair prejudice, confusion ofthe issues, or misleading the jury, or

by considerations of undue delay, waste oftime, or needless presentation ofcumulative

evidence."). If Plaintiff testifies "that he sustained emotional damages from being prosecuted,"

Defendant mav inquire into plaintiffs past arrests and incarcerations. Defendant may not,

however, inquire into the reasons for Plaintiffs prior arrests.     Banushi.2011 WL 13894, at

*3 (permitting defendant to question plaintiff about prior arrests, but not the reasons for those

arrests, because oftheir relevance to damages); Ramos v. County of Suffolk. 707 F.Supp.2d 421,

424(E.D.N.Y. 2010)(same).

               2.      November and December Arrests


       Defendant states that he intends to elicit testimony concerning the November and

December Arrests, but agrees to do so without mentioning that they were for marijuana or other

drugs. (Def. Resp. at 2-3.) Each ofthese arrests occurred at the Apartment and Defendant was

present for each. (Id at 2.) During the course of each arrest. Defendant allegedly observed

Plaintiff asleep in the bed in the same room in the Apartment where marijuana was later found

on April 19,2013. (Id)

       A central issue in this case is whether Plaintiff's deprivation ofliberty came "as a result"

of Defendant's allegedly false statements, each of which was related to the question of whether

Plaintiff had "dominion or control" over the marijuana found in the Apartment. As Judge Gold
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explained, this is related to the question of"whether plaintiff would have suffered the same

deprivation of liberty 'in light of other inculpatory evidence, untainted by the misconduct of

defendants.'" (R&R at 16(quoting Nnodimele v. Derienzo. No. 13-CV-3461 (ARR),2016 WL

337751, at *14(E.D.N.Y. Jan. 27, 2016)).)

       Defendant argues that the fact that these two arrests occurred and what Defendant

observed in the course ofthose arrests—i.e., that Plaintiff was sleeping in the Apartment

allegedly surrounded by his own belongings—constitute "other inculpatory evidence" showing

that Plaintiff lived at the address and thus had "dominion and control" over the marijuana. (Def.

Resp. at 2.) The court agrees. Consistent with its suggestion, Defendant mav elicit testimony

about the November and December Arrests, but Defendant may not inquire into the reason for

those arrests.


       B.        Evidence Concerning the Superseding Information

       The nature of Plaintiffs motion to preclude Defendant from introducing the Superseding

Information is not clear to the court. CSee PI. Mot. at 5-8.) This is particularly so because

Plaintiffs fair trial claim is in part premised on an allegedly false statement contained only in the

Superseding Information. (See Def. Resp. at 3.) Precluding the Superseding Information would

thus seem to undermine Plaintiffs own case. Plaintiff nonetheless appears to contend that the

Superseding Information is irrelevant because "the question the jury should analyze is whether

the fabricated evidence would have influenced a jury, not whether the prosecutor was influenced

by it." (PI. Mot. at 7.) However, as Plaintiff acknowledges,"[wjhether the fabricated evidence

is likely to influence a jury's decision can be satisfied by showing that the fabricated evidence

was material to the prosecutor's case." Hanson v. New York Citv. No. 15-CV-1447(MKB),

2018 WL 1513632, at *17(E.D.N.Y. Mar. 27,2018)(quoted in PI. Mot. at 8). The court thus



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finds that the Superseding Information is relevant to the claims and defenses at issue here.

Indeed, this court has already found that the fact that the prosecutor withdrew the Original

Complaint and proceeded on the basis of the Superseding Information raises material questions

offact appropriate for resolution by the jury. (M&O Adopting R&R at 15-16.) To the extent

that this motion concerns the appropriate instructions for the jury; Plaintiffs concerns may be

addressed injury instructions. The court thus DENIES Plaintiffs motion to preclude the

Superseding Information. Cf Viada v. Osaka Health Soa. Inc.. No. 04-CV-2744(VM)2005 WL

3435111, at *1 (S.D.N.Y. Dec. 12,2005)(denying "vague" motions in limine because "the Court

is unable to determine, with any degree ofcertainty, whether the [evidence] sought to be

excluded from the trial would be inadmissible under any ofthe provisions of the Federal Rules of

Evidence").

        C.     Evidence of Plaintiffs Nexus to the Apartment

       Plaintiff states that he moves to preclude Defendant from introducing evidence showing

that there was independent probable cause for his arrest on April 19,2013. (PI. Mot. at 9-13.)

While it is true that "probable cause is no defense to a denial ofthe right to a fair trial claim,"

Gamett. 838 F.3d at 278, Plaintiff makes clear that he seeks to preclude any evidence of

"plaintiffs connection to the subject apartment, his prior arrests there or his possessions kept

there"(id at 13). In short. Plaintiff seeks to preclude Defendant's evidence showing Plaintiffs

"nexus to the location ofthe arrest." (Id) However, as discussed above, the court finds that the

jury cannot determine whether the allegedly fabricated statements were "material" absent an

understanding ofthe "other inculpatory evidence" that would have been presented to the petit

jury. This includes evidence concerning Plaintiffs connection to the Apartment. Plaintiffs

motion is therefore DENIED. As stated above. Defendant mav elicit testimony about the
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 November and December Arrests, but Defendant may               inquire into the reason for those

 arrests.


            D.      Specific Exhibits

            Plaintiff seeks to preclude the introduction of certain exhibits identified by the Defendant

 in the JPTO. (PL Mot. at 13-17.) The court takes the arguments in turn.

                   1.      The Complaint. Amended Complaint, and Deposition Transcripts(Def.

                           Exs. B. C.E. ¥)


            Plaintiff objects to the introduction ofthe Complaint, Amended Complaint, and

 deposition transcripts(Def. Exs. B,C,E,F)except for the purposes ofimpeachment. (PI. Mot.

 at 13-14.) Defendant replies that many ofthe exhibits listed on the JPTO,including the

 complaint, are listed for the purposes ofimpeachment only. (Def. Resp. at 7.) The court

 accordingly RESERVES JUDGMENT on Plaintiffs motion to preclude the introduction ofthe

 Complaint, Amended Complaint, and deposition transcripts except for the purposes of

 impeachment.

                   2.      Original Complaint(Def. Ex. D)

        Plaintiff does not object to the introduction ofthe Original Complaint, but objects to the

 version that Defendant has produced because it "has extraneous handwriting on it which is

 prejudicial and hearsay." (PI. Mot. at 14.) Defendant does not respond to this argument.

 Because the court cannot properly evaluate the exhibit at this time—because it does not know

 what is written on the complaint—it RESERVES JUDGMENT as to whether Defendant's

 Exhibit D constitutes inadmissible hearsay or presents a risk of unfair prejudice.




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                3.      Search Warrant Application TDef. Ex. S)

        Plaintiff seeks to preclude the April 2013 search warrant applied for by Defendant. (PL

 Mot. at 14.) Per the Amended JPTO, however, Defendant no longer intends to introduce the

 search warrant application at trial. (See Amended JPTO at 5-6.) Plaintiffs motion to preclude

 its introduction is thus DENIED AS MOOT.


                4.      Documentation and Materials Relating to the April 19. 2013 Arrest(Def.


                        Exs. H. I. P. V. W.Y. Ts


        Plaintiff objects to the introduction of certain police "documents" related to the April 19,

 2013 arrest. (PI. Mot. at 14-15.) These documents. Plaintiff contends, are hearsay, prejudicial,

 irrelevant, and constitute opinions. (Id.)

        Defendant has indicated in the Amended JPTO that he no longer intends to introduce

 certain ofthese exhibits. (Def. Resp. 7.) Thus, with respect to Defendant's exhibits W,Y,and

 Z,Plaintiffs motion is DENIED AS MOOT.

        With respect to "[ojther documents,including various police paperwork relating to the

 underlying arrest," Defendant explains that he is not sure if each ofthese documents will be

 introduced at trial. (Def. Resp. at 7.) The court thus RESERVES JUDGMENT as to Plaintiffs

 motion to preclude the introduction of Defendant's exhibits H,I, and V.

        With respect to the marijuana recovered at the Apartment on April 19,2013, Defendant

 argues that the marijuana itself does not constitute hearsay or opinions and that it would have

 been admissible before the petit jury. (Id at 8.) Since one ofthe relevant questions here is what

inculpatory evidence against Plaintiff existed outside ofthe statements that Defendant allegedly

fabricated, the court finds that the marijuana meets the "very low" threshold for relevance.

 White,692 F.3d at 246(quoting Al-Moavad. 545 F.3d at 176). Plaintiff does not specifically



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 address the marijuana or explain why it would be irrelevant or prejudicial. Instead, he lists in a

 group of exhibits that he describes as "police documentation created after plaintiffs April 19,

 2013 arrest apparently in an attempt to bolster the officers testimony at trial which can be

 expected to be supported by the documentation they created." (PI. Mot. at 14.) He further

 describes these documents as "hearsay ... being used to impugn the plaintiff's character." (Id at

 14-15.) However,the marijuana does not fit this description(and Plaintiff does not appear to be

 arguing that the marijuana constitutes fabricated evidence since both parties agree that there is no

 dispute that officers recovered marijuana at the Apartment that day.(jd; PI. Mot. at 14)).

 Because Plaintiff has not provided the court with any reason to exclude the marijuana, his motion

 to exclude Defendant's Exhibit P is DENIED.


                5.      Evidence Relating to Prior Arrests TDef. Exs. K. L. M.N. O. S. T. X. AA.

                        BB. and CQ


        Plaintiff moves to exclude Defendant's exhibits relating to prior arrests as prejudicial and

 irrelevant. (PI. Mot. at 15-16.)

        Defendant no longer plans to introduce exhibits K,L,N,O,S, X,AA,or BB. (Amended

 JPTO at 5-6.) Plaintiffs motion to preclude their introduction is thus DENIED AS MOOT.

        With respect to exhibits M (Plaintiffs RAP sheet), T(Statement of Allegations/

 Supporting Deposition by Tammy Harris), and CC(Orders ofProtection), the court is not able to

 determine from the parties' briefs whether they may be admissible. The court thus RESERVES

 DECISION on this motion until trial.


                6.     Evidence Relating to a 311 Call(Def. Exs. R & U)

        Plaintiff also seeks to exclude Defendant's Exhibits R and U as irrelevant, prejudicial,

 and "unauthenticated hearsay."(PI. Mot. at 15-16.) Exhibit R is a report of a call placed to 311



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 by an individual identifying himself as Charles Patrick. (Def. Resp. at 7.) In the call, Patrick

 describes his roommate and complains that he is selling drugs in "our apartment." (Id. at 8.)

 Exhibit U is a complaint report generated from that call. (Id at 7-8.) This 311 call initiated

 Defendant's investigation into Plaintiff. (Id at 8.) Defendant contends that the records are

 relevant because they constitute the "other inculpatory evidence" that made up the prosecutor's

 case and would have gone to the petitjury. (Id) The court agrees.

         Defendant further contends that the call and report are subject to the "business records"

 exception to the prohibition against hearsay.       Fed. R. Evid. 803(6). (Def. Resp. at 8.)

 Defendant states that the 311 call will not be offered for the truth ofthe matter asserted but rather


 to show what Defendant knew at the time. (Id at 8 n.8).

         Defendant may be able to lay the proper foundation for the admission ofthese records at

 trial. See United States v. Komasa. 767 F.3d 151, 156(2d Cir. 2014)("To lay a proper

 foundation for a business record, a custodian or other qualified witness must testify that the

 document was kept in the course of a regularly conducted business activity and also that it was

 the regular practice ofthat business activity to make the [record]."(internal quotation marks and

 citation omitted)). In addition, if Defendant does not offer Exhibits R and U for their truth, they

 will not constitute hearsay. In that case, there would be no need to proffer them as business

 records. The court thus DENIES Plaintiffs motion to exclude Defendant's Exhibits R and U at

 this time. To the extent Plaintiff seeks to argue that the exhibits are being offered for their truth

 and that they are not business records. Plaintiff can make this argument at trial.

 NV Petrus SA v. LPG Trading Corp.. No. 14-CV-3138(NGG),2017 WL 1905820, at *2

(E.D.N.Y. May 8, 2017)




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                7.      Testimony by David Bemal

         Plaintiff seeks to preclude the testimony of Officer David Bemal. (PL Mot. at 16-17.)

 Defendant states that he no longer intends to call Officer Bemal. (Def. Resp. at 8.) Plaintiff's

 motion to preclude Officer Bemal's testimony is therefore DENIED AS MOOT.

        E.      Opinion Testimony

        Plaintiff seeks to preclude Defendant's counsel from eliciting opinion testimony from

 vvitnesses. (PI. Mot. at 17.) Defendant responds that his counsel has no intention ofdoing so,

 and likewise expects Plaintiffs counsel to refrain from eliciting opinion testimony from Plaintiff

 or other witnesses. (Def. Resp. at 9.) Plaintiffs motion to preclude opinion testimony is thus

 DENIED AS MOOT.


        F.      Evidence Concerning Time Pressure Faced by Police Officers

        Plaintiff seeks to preclude Defendant from eliciting testimony conceming "how busy the

 officers were at the time of the incident in an effort to demonstrate to the jury that the officers are

 public servants and are under time pressure to deal with incidents so as to be able to respond to

 other calls." (PI. Mot. at 19.) Defendant replies that he has no intention of offering such

 testimony. (Def. Resp. at 9.) Plaintiffs motion to preclude this testimony is therefore DENIED

 AS MOOT.


        G.      Impeachment Evidence Not Listed on the JPTO

        Plaintiff expresses concem that Defendant"may seek to introduce evidence of plaintiffs

 unknown bad acts of any caliber" that they find on "social media,intemet searches and other

sources." (PI. Mot. at 19.) Defendant responds that, in keeping with the court's individual mles,

 he has no intention of using documents not listed on the JPTO for impeachment purposes. (Def.

 Resp. at 9.) Plaintiffs motion to preclude "irrelevant" and "highly inflammatory impeachment



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 material" not listed on the JPTO is therefore DENIED AS MOOT without prejudice to Plaintiffs

 challenges to particular evidentiary proffers at trial.

         Defendant notes that he reserves his right to use documents exchanged during discovery

 but not listed on the JPTO if necessary to combat allegations of recent fabrication. (Def. Resp. at

 9 n.9.) Plaintiff may ofcourse challenge particular evidentiary proffers at trial.

         H.      Court Appearances Related to More than One Arrest

         Defendant contends that Plaintiff should be precluded from proceeding on his denial of a

 right to a fair trial claim based on the alleged fabrication ofevidence in the Superseding

 Information because he did not suffer any deprivation ofliberty as a result of it. (Def. Mem. at

 4-5.) Defendant states that Plaintiff made four court appearances after the filing ofthe

 Superseding Information, but that each ofthese appearances were related to charges stemming

 notjust from the April arrest, but also from the November arrest. (Id) Defendant thus contends

 that because these appearances were related to more than one arrest. Plaintiffcannot show that he

 suffered a deprivation of liberty caused by the alleged fabrication in the Superseding

 Information. (Id)

         Defendant also argues that Plaintiff should be precluded from presenting evidence or

 eliciting testimony that he suffered a deprivation of liberty when he appeared in court on seven

 occasions before the Superseding Information was filed. (Def. Mem. at 6-7.) Defendant

 contends that Plaintiff cannot point to these appearances as deprivations ofliberty for the

 purposes of his fair trial claim because each ofthese seven appearances pertained to both the

 April 19, 2013 arrest and the November Arrest. (Def. Mem. at 6-7.)

        In his Report and Recommendation("R&R"), Magistrate Judge Steven Gold explained

 that, with respect to court appearances related to more than one arrest,"it is not entirely clear that



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 plaintiff would have been required to appear as frequently if he had only one set ofcharges

 pending against him." (R&R at 17-18.) He found that Plaintiff had therefore "raised a question

 offact with respect to whether he suffered a deprivation of liberty that was proximately caused

 by defendant Civil's allegedly false incriminating statements." (Id at 18.) The same logic

 applies to Plaintiff's appearances in connection with more than one arrest both before and after

 the filing ofthe Superseding Information. Defendant's motions to preclude Plaintifffrom

 proceeding on his claim based on the alleged fabrication in the Superseding Information and

 from presenting evidence or eliciting testimony that he suffered a deprivation of liberty when he

 appeared in court on seven occasions before the Superseding Information was filed are therefore

 DENIED.


          I.       Evidence Relating to Previously Dismissed Claims

          Plaintiff originally brought additional claims as a part ofthis case, including § 1983

 claims offalse arrest, malicious prosecution,failure to intervene, illegal strip search, and

 excessive pre-arraignment detention, as well as denial offair trial claims against the City and.

 other individual defendants. (See Am. Compl.) After summary judgment,the court dismissed

 these claims on July 12, 2017. (See M&O Adopting R&R at 26.)

          Plaintiff responds that he does not intend to introduce evidence relating to previously

 dismissed claims. (PL Resp.(Dkt. 104)at 6.) Defendant's motion to preclude evidence relating

 to previously dismissed claims is thus DENIED AS MOOT.'

          J.       Testimony of Tammy Harris and Sallica "Lisa" Williams

          In the Amended JPTO,Plaintiff indicates that he intends to call Tammy Harris and

 Sallica "Lisa" Williams. (Amended JPTO at 3.) Ms. Harris is expected to testify "as to her


'Plaintiff requests that the jury be instructed not to speculate as to any other claims in the case. (Id.) This concern
can be addressed injury instructions.

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 observations/experience on the date of plaintiffs arrest, knowledge of plaintiff and as to the

 injuries and damages suffered by plaintiff among other relevant topics." (Id.) Ms, Williams is

 expected to testify "with respect to her observations and experience on the date of the within

 incident and arrest and thereafter." (Id.)


        Defendant seeks to preclude the testimony of both individuals on the grounds that their

 testimony is "irrelevant, cumulative, and lacks personal knowledge." (Def. Mem. at 8.)

 Defendant argues that their testimony has no probative value because neither individual

 possesses personal knowledge "as to whether [Defendant] forwarded any allegedly fabricated

 evidence to the District Attorneys Office that allegedly caused plaintiff to suffer a deprivation of

 liberty." (Id, at 9.) In addition. Defendant states that neither individual were present for the

 interactions between Defendant and Plaintiff, elements of which were allegedly fabricated in the

 Original Complaint and Superseding Information. (Id.) Defendant also contends that Ms. Harris

 cannot testify to Plaintiffs psychological and emotional state following the incident because she

 has not been proffered as an expert. (Id.)

         "A federal district court has the power to exclude evidence in limine onlv when evidence

 is clearly inadmissible on all potential grounds" and "[ujnless evidence meets this high standard,

 evidentiary rulings should be deferred until trial so that questions offoundation, relevancy and

 potential prejudice may be resolved in proper context." Hennessv. 840 F. Supp. 2d at 554

(quoting Viada. 2005 WL 3435111, at *1).

        Plaintiff states that Ms. Harris, while not at the scene ofthe arrest, was with the Plaintiff

 at the time when the Original Complaint inaccurately stated he was already in the Apartment.

(PI. Resp. at 6.) In addition. Plaintiff states that Ms. Williams was "present for a portion ofthe

 encounter on the date ofthe incident." (Id.) Thus, their testimony is potentially relevant to



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 Plaintiffs claim, which involves allegations that Defendant fabricated evidence pertaining to his

 arrest. Based on the foregoing,the court is unable to assess the basis, relevance, or admissibility

 of potential testimony from both individuals. Consequently, the court RESERVES DECISION as

 to this motion in limine.

         K.       Disciplinary Hearings and Prior Lawsuits Against Witnesses

         Defendant seeks to preclude Plaintifffrom inquiring into Defendant's disciplinary history

 or personnel files, prior lawsuits involving Defendant, and any disciplinary complaints or

 lawsuits against non-party NYPD witnesses.(Def. Mem. at 10-13.)

         Defendant contends that Plaintiff should be precluded from inquiring about any

 disciplinary history or personnel files of Defendant pursuant to Federal Rule of Evidence 404(b),

 which prohibits the admission ofevidence of past acts "to prove the character ofa person in

 order to show conformity therewith." (Def. Mem.at 10.) Defendant further argues that, even if

 it were introduced for a purpose unrelated to character, the danger of unfair prejudice from such

 evidence outweighs any potential probative value. (Id.)

         Plaintiff responds that Defendant's personnel file. Civilian Complaint Review Board

("CCRB")complaints against him, and lawsuits involving him reveal a "pattern ofconduct...

 and are admissible as proof of both motive and intent." (PI. Resp. at 7.) Plaintiff also contends

 that these prior complaints and lawsuits are "fair impeachment material" of Defendant and

 Detective Denesopolis (Id at 6.)^ Plaintiff provides a list of CCRB complaint and lawsuits

 involving Defendant and Detective Denesopolis, but does not provide any details about either.

(See CCRB Complaints and Civil Lawsuits(Dkt. 104-1) at 1-2.) In particular, the list does not

 indicate the subject matter or disposition of any ofthese complaints or lawsuits. (See id.)



 ^ The court notes that, based on the Amended JPTO, Defendant no longer intends to call Detective Desenopolis.

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        The probative value of prior allegations or lawsuits involving Defendant or NYPD

 witnesses depends on the precise circumstances from which they arose as well as their

 dispositions, but the court has no specific information about the allegations or related actions

 from which the court may determine their relevance. Accordingly, the court RESERVES

 DECISION on this motion until trial. S^ Hennessv. 840 F. Supp. 2d at 556 (reserving decision

 on motion in limine to preclude evidence of prior lawsuits where parties provided no information

 about those lawsuits or their dispositions because their probative value "depends on the nature

 and substance ofsuch actions"); cf id. at 556(precluding evidence of CCRB complaints where

 those complaints remained unsubstantiated); Jean-Laurent v. Wilkinson. No.05-CV-583(VM),

 2009 WL 666832, at *3(S.D.N.Y. Mar. 13, 2009)(allowing plaintiff to introduce "disciplinary

 histories [of defendant corrections officers] only as they relate to complaints that are less than ten

 years old that were found to be substantiated").

        L.      Caption

        Defendant requests that the City of New York, Jason Jones, and Luke Denesopolis be

 removed from the caption ofthis action. (Def. Mem. at 13.) Plaintiff does not object for the

 purposes of presenting the matter to the jury, but asks that the caption remain the same "for

 appellate reasons." (PI. Resp. at 8.) The parties are directed to use the case caption as it appears

 in the Amended JPTO. (See Amended JPTO at I).

        M.      Indemnification


        Defendant seeks to preclude Plaintifffrom mentioning or introducing evidence that the

 City may indemnify Defendant. (Def. Mem. at 14-15.) Plaintiff does "not intend to reference

 indemnification," but states that Defendant"may not'open the door' to this issue by attempting

 to elicit sympathy for [Defendant]." (PI. Mot. at 8.)



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        The court agrees that evidence regarding indemnification would be prejudicial against

 Defendant, as such evidence might "encourage ajury to inflate its damages award because it

 knows the government—not the individual defendant[]—is footing the bill." Williams v.

 McCarthv. No. 05-CV-10230(SAS),2007 WL 3125314, at *7 n.46(S.D.N.Y. Oct. 25, 2007)

(quoting Lawson v. Trowbridge. 153 F.3d 368,379(7th Cir. 1998)). See also Nunez v.

 Diedrick. No. 14-CV-4182(RJS),2017 WL 4350572, at *2(S.D.N.Y. June 12, 2017)("[A]ny

 references to the City's potential indemnification obligations run the significant risk of unfairly

 prejudicing Defendant."); Hernandez v. Kellv, No.09-CV-1576(TLM)(LB), 2011 WL

 2117611, at *6(E.D.N.Y. May 27,2011)(finding that evidence regarding the City's potential

 indemnification of defendant police officers would be prejudicial against the defendants). The

 court thus GRANTS Defendant's motion. The court will revisit the issue at trial if Plaintiff

 believes that Defendant has "opened the door" such that the probative value ofsuch evidence

increases dramatically.

        N.      NYPD Policies


        Defendant also moves to preclude evidence regarding the NYPD Patrol Guide or other

NYPD policies, including the "Legal Bulletin Bureau," listed as Plaintiffs Exhibit 9 in the

 Amended JPTO. (Def. Mem. at 15-17.) Defendant contends that these guides are irrelevant to

 whether Defendant violated Plaintiffs constitutional rights, especially since there is no evidence

in the record to establish that Defendant violated NYPD procedure ^vith respect to his interaction

 with Plaintiff. (Def. Mem. at 16.) Plaintiff responds that these materials "will be fairly used to

assist the jury to determine how an officer confronting a specific situation is guided to respond."

(PL Resp. at 9.) He explains that the fact that an officer responds differently "could constitute

fair evidence [of a constitutional violation] and is therefore admissible evidence subject to ajury



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 instruction that a departure from the above documents is only evidence for the jury to consider

 rather than a blueprint for a Constitutional violation." (Id.) Plaintiff does not, however, explain

 how these materials are relevant to his claim.


        How Defendant acted during the arrest or "confronted [the] specific situation" is not at

 issue here. On the contrary, a claim for denial of a fair trial requires proofthat "(1)[an]

 investigating official(2)fabricates information(3)that is likely to influence ajury's verdict,(4)

 forwards that information to prosecutors, and (5)the plaintiff suffers a deprivation of life, liberty,

 or property as a result." Gamett v. Undercover Officer COOS9. 838 F.3d 265,279(2d Cir. 2016)

(describing the standard established in Ricciuti v. N.Y.C. Transit Auth.. 124 F.3d 123(2d Cir.

 1997)). The court does not see howNYPD guidelines, including Legal Bureau Bulletins, are

 relevant to any ofthese elements and Plaintiff has failed to provide any such explanation. The

 court thus GRANTS Defendant's motion.

         O.     References to Defense Counsel as City Attorneys

        Defendant asks that his counsel be referred to only as "attorneys for the defendant" or

"defense counsel" on the grounds that any reference to them as City attorneys would be unfairly

 prejudicial because it may lead the jury to believe that Defendant will be indemnified by the

 City. (Def. Mem. 17-18.) Plaintiff states that he does not intend to refer to defense counsel as

 City attorneys. (PI. Resp. at 10.) Defendant's motion is GRANTED.

        P.      Specific Damages Amount

        Defendant moves to preclude Plaintiff's counsel from mentioning during opening and

 closing statements or during the testimony of any witnesses a specific dollar figure to

 compensate Plaintiff for his alleged deprivations of liberty because it is a non-economic damage.

(Def. Mem. at 19.) Defendant contends that such suggestions would be improper because it



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 could "unlawfully anchor the jurors' expectation of a fair award at a place set by plaintiff, rather

 than by the evidence plaintiff may present." (Id.) Plaintiffs coimsel responds that he should be

 permitted to mention specific figures in his closing statement,"but must do so in the first

 argument in order for defense counsel to respond if he chooses to do so, before plaintiffs

 counsel makes his final argument." (PI. Resp. at 10.) Such suggestions are necessary, he argues,

 because "it may be difficult for ajury to adequately assess the emotional pain a plaintiff

 undergoing a fabricated prosecution suffers." (Id. at 11.)

         Although the Second Circuit has stated in the context of monetary awards for pain and

 suffering that "specifying target amounts for the jury to award is disfavored," Consorti v.

 Armstrong World Industries, Inc., 72 F.3d 1003,1016(2d Cir. 1995), vacated on other grounds,

 518 U.S. 1031 (1996),the Second Circuit has also stated that "it is best left to the discretion of

 the trial judge, who may either prohibit counsel from mentioning specific figures or impose

 reasonable limitations, including cautionary jury instructions." Lightfoot v. Union Carbide

 Corp.. no F.3d 898,912(2d Cir. 1997).

        Defendant's motion is GRANTED IN PART and DENIED IN PART. In light ofthe

 Second Circuit's guidance, the Court will not permit plaintiff to submit to the jury a specific

 dollar amount regarding his non-economic damages,including pain and suffering, in either his

 opening statement or closing argument. Plaintiff will be permitted, however,to submit to the

jury during his closing argument a specific dollar amount regarding other compensable damages

 he alleges to have suffered as a result ofthe Defendant's actions, so long as any figure submitted

 to the jury has a reasonable basis in admissible evidence introduced during Plaintiffs case in

 chief and Defendant has an opportunity to respond if it chooses to do so. The Court will instruct

 the jury, as it always does, that statements by lawyers are not evidence or the law that they are to



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 follow when they begin their deliberations.      Hennessey. 850 F. Supp. 2d at 558 (arrestee in §

 1983 action would not be permitted to submit to the jury a specific figure for pain and suffering,

 but could suggest a figure pertaining to other alleged compensable damages); Edwards v. City of

 New York. No. 08-cy-2199(TLM),2011 WL 2748665, at *2(E.D.N.Y. July 13, 2011)

(plaintiffs counsel could submit a specific figure to the jury during closing statements, but only

 in his first argument).

        Q.      Evidence of General Police Misconduct

        Defendant moyes to preclude the introduction of eyidence concerning unrelated

 purported instances of police misconduct, eyents reported in the news media, class actions and

 criminal inyestigations on the grounds that such references would be irreleyant, inadmissible,

 and inflammatory. (Def. Mem. at 19.) Plaintiff responds that he does not intend to offer

 irreleyant or inflammatory information to the jury. (PI. Resp. at 11.) Defendant's motion is

 therefore GRANTED.


IV.     CONCLUSION


        For the foregoing reasons, the parties' motions in limine(Dkts. 97,102)are GRANTED

IN PART and DENIED IN PART,with ruling on certain questions RESERVED until trial.

        SO ORDERED.

                                                                      s/Nicholas G. Garaufis
 Dated: Brooklyn, New York                                           NICHOLAS G. GARAUFIS
        April / ,2019                                                United States District Judge




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